                                                                                                                                                          Exhibit 4

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April 26, 2024

VIA HAND DELIVERY

The Honorable Kimberly A. Cheatle
Director, United States Secret Service
245 Murray Ln SW - BLDG T-5
Washington, DC 20223

        Re:        Critical Flaw in the Proposed Operational Security Plan for the July 2024 Republican
                   National Convention in Milwaukee, Wisconsin

Dear Director Cheatle,

        The Republican National Committee (“RNC”), the United States Secret Service (“USSS”), and the City
of Milwaukee (“City”) share a commitment to design, prepare for, and deliver a safe and peaceful 2024
Republican National Convention (“Convention”) in July. To date, the RNC and Convention leadership team have
worked diligently, collaboratively, and productively with our federal, state, and local partners. I write today on
behalf of our client, the RNC, to express the RNC’s grave concerns with the USSS’s proposed design of the
Security Perimeter within the Operational Security Plan (“Plan”) currently being developed for the Convention, a
designated National Special Security Event (“NSSE”). With less than three months before the Convention
commences on July 15, 2024, we wanted to ensure that, before the USSS finalizes its Plan, the highest level of
USSS leadership has full visibility of the problem and the opportunity to work with us on common-sense
solutions that would easily and reasonably avert these elevated, consequential, and untenable risks.

         As the Plan has progressed over the past few weeks, in conjunction with separate planning by the City for
its Designated First Amendment Zone, we have identified a critical flaw with the Security Perimeter that creates
an elevated and untenable safety risk to the attending public. Despite our good faith efforts to resolve the issue
with the USSS Site-level leadership team without your intervention, this critical shortcoming has not been
addressed. As detailed below, the City’s current plan would pack demonstrators into a one-block park—a park
bordered by the two streets that thousands of peaceful attendees will be using to access the Convention site, as set
out in the USSS’s proposal. This will force thousands of peaceful attendees and demonstrators, who may
otherwise choose to avoid or limit direct, proximate engagement with one another, to be in extremely close,
consistent, and unavoidable proximity. As recent college and university campus clashes make plain, forced
proximity heightens tensions among peaceful attendees and demonstrators of differing ideologies and increases
the risk of escalation to verbal, or even physical, clashes and corresponding law enforcement intervention.

        As depicted in the below “General Impact Map,” as published by the City, the USSS’s proposed plan for
the Security Perimeter designates two primary pedestrian access points to the Convention site. Both are on the
East-facing edge of the Security Perimeter, about one block from the Wisconsin River. One access point is on
West State Street, and the other is on West Kilbourn Avenue, which is one block to the South, with both streets
running East-West. Immediately on the West side of the river, these two streets are separated by a public park,
known as the Pѐre Marquette Park (“Park”), with both streets immediately adjacent—and forming the geographic
border—to this Park. Because many Convention attendees will be lodging and/or attending private events on the
East side of the river, the most direct route for these thousands of pedestrians will be traversing the river on either


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                Case 2:24-cv-00704-BHL Filed 06/06/24 Page 1 of 3 Document 7-8
Hon. Kimberly A. Cheatle
April 26, 2024
Page 2


West State Street or West Kilbourn to reach those two access points into the secured area. In other words, the
proposed design of the Security Perimeter creates a pedestrian traffic pattern that funnels these extremely large
crowds by and through the Park in order to access the Convention site. For ease of reference, we have highlighted
in the yellow the streets upon which the two proposed access points will be located and added arrows representing
the direction of travel for pedestrians.




                 “General Impact Map,” as published by the City of Milwaukee, https://city.milwaukee.gov/RNC/FAQ

         The City has designated the Park as its intended First Amendment Zone to allow for permitted assembly
and demonstration. As indicated by the highlighted area in red on the map above, the Park is situated right
between the two streets leading to the Convention’s two primary pedestrian access points described above. The
effect of this selected Park location for the demonstrators, when coupled with the USSS’s creation of the
pedestrian traffic flow necessitated by the location of the Security Perimeter and the associated selection of the
two primary pedestrian access points, is that the USSS will be creating, in effect, a mandated confrontational area,
where the pedestrians will be funneling into the direct (planned) vicinity of the demonstrators. The RNC is deeply
concerned that these logistical proposals by the City and the USSS—as they currently stand—constitute a
significant and unacceptable safety risk to the attending public. Packing demonstrators into a Park essentially
boxed in by the two streets that thousands of attendees will be using to enter the Convention site will only serve to
heighten—rather than prevent and diffuse—any tension.

         Over the last few weeks, in an effort to prevent and alleviate this critical flaw, the RNC has proposed a
reasonable solution that would expand the Security Perimeter to the East to encapsulate the Park within the
secured area. If the USSS expands the Security Perimeter as we have proposed, we understand that the City would
simply utilize a previously-selected and permitted First Amendment Zone, which would continue to ensure and
protect the public’s freedom to peaceably demonstrate within sight and sound of the Convention. The RNC, its
members, and attendees are committed to ensuring that all attendees, demonstrators, journalists, and community
members, irrespective of viewpoint, are safe, treated with respect and dignity, and have their Constitutional rights



              Case 2:24-cv-00704-BHL Filed 06/06/24 Page 2 of 3 Document 7-8
Hon. Kimberly A. Cheatle
April 26, 2024
Page 3


protected, and we believe our proposal for a very modest expansion of the Security Perimeter would serve these
goals. Although the RNC had also proposed shifting the primary pedestrian access points to obviate the concerns
detailed above, USSS Site-level leadership asserted that they did not believe this would be a viable solution.

        With the Convention less than three months away, and, given our shared commitment of ensuring
that Convention attendees, demonstrators, journalists, and community members can all gather safely and
securely, the RNC leadership team respectfully requests an opportunity to meet with you in Washington,
D.C., at your earliest possible convenience to discuss this urgent safety issue and to work cooperatively to
achieve an expedient solution for all stakeholders that advances the Department of Homeland Security’s
mission to “protect the safety and security of the American people.”

        On behalf of the RNC leadership team, I want to express our appreciation for your attention to this critical
matter, and we look forward to discussing these issues with you and your team. For scheduling purposes, I can be
reached at tsteggerda@mcguirewoods.com or via my office line at (202) 857-2477.

                                                 Respectfully,




                                                 Todd R. Steggerda
                                                 Counsel to the Republican National Committee

CC:     Mayor Cavalier Johnson
        Milwaukee Mayor’s Office




              Case 2:24-cv-00704-BHL Filed 06/06/24 Page 3 of 3 Document 7-8
